             Case:19-05891-ESL7 Doc#:1 Filed:10/10/19 Entered:10/10/19 16:35:31                                                    Desc: Main
                                      Document Page 1 of 47

Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF PUERTO RICO

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                NEW ENERGY CONSULTANTS & CONTRACTORS, LLC

2.   All other names debtor
     used in the last 8 years
                                  DBA NEW ENERGY CONSULTANTS & CONTRACTORS, INC.
     Include any assumed          DBA NEW ENERGY, LLC
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  RD. 190, KM. 1.5, LOT 5
                                  SABANA ABAJO INDUSTRIAL PARK                                    THE SAME
                                  Carolina, PR 00983
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Carolina                                                        Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  THE SAME
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
              Case:19-05891-ESL7 Doc#:1 Filed:10/10/19 Entered:10/10/19 16:35:31                                                              Desc: Main
                                       Document Page 2 of 47
Debtor    NEW ENERGY CONSULTANTS & CONTRACTORS, LLC                                                    Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
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                                     Document Page 3 of 47
Debtor   NEW ENERGY CONSULTANTS & CONTRACTORS, LLC                                                 Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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                                      Document Page 4 of 47
Debtor    NEW ENERGY CONSULTANTS & CONTRACTORS, LLC                                                Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      October 10, 2019
                                                  MM / DD / YYYY


                             X   /s/ YOLANDA GONZALEZ GOMEZ                                               YOLANDA GONZALEZ GOMEZ
                                 Signature of authorized representative of debtor                         Printed name

                                         CHIEF FINANCIAL OFFICER & CHIEF
                                 Title   RESTRUCTURING OFFICER




18. Signature of attorney    X   /s/ Jose F. Cardona Jimenez USDC-PR                                       Date October 10, 2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Jose F. Cardona Jimenez USDC-PR 124504
                                 Printed name

                                 Cardona Jimenez Law Offices, PSC
                                 Firm name

                                 PO Box 9023593
                                 San Juan, PR 00902-3593
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     787-724-1303                  Email address      jf@cardonalaw.com

                                 USDC-PR 124504 PR
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
           Case:19-05891-ESL7 Doc#:1 Filed:10/10/19 Entered:10/10/19 16:35:31                                                   Desc: Main
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 Fill in this information to identify the case:

 Debtor name         NEW ENERGY CONSULTANTS & CONTRACTORS, LLC

 United States Bankruptcy Court for the:            DISTRICT OF PUERTO RICO

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          October 10, 2019                        X /s/ YOLANDA GONZALEZ GOMEZ
                                                                       Signature of individual signing on behalf of debtor

                                                                       YOLANDA GONZALEZ GOMEZ
                                                                       Printed name

                                                                       CHIEF FINANCIAL OFFICER & CHIEF RESTRUCTURING OFFICER
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy
                Case:19-05891-ESL7 Doc#:1 Filed:10/10/19 Entered:10/10/19 16:35:31                                                                      Desc: Main
                                         Document Page 6 of 47

 Fill in this information to identify the case:
 Debtor name NEW ENERGY CONSULTANTS & CONTRACTORS, LLC
 United States Bankruptcy Court for the: DISTRICT OF PUERTO RICO                                                                                      Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 ADMINISTRACION                                                  ACCRUED RENT                                                                                             $57,099.66
 DE TERRENOS                                                     OWED FOR
 PO BOX 363767                                                   CHARDON
 San Juan, PR                                                    DEMISED
 00936-3767                                                      PROPERTY
 AEE SOLAR                                                       INVENTORY                                                                                              $278,153.75
 775 FIERO LANE                                                  PURCHASED ON
 SUITE 200                                                       CREDIT
 San Luis Obispo,
 CA 93401
 ALLIED BUILDING                                                 INVENTORY                                                                                                $46,906.40
 PRODUCTS                                                        SOLD ON CREDIT
 600 SECAUCUS RD.                                                UP TO 08/26/2019
 SUITE 2
 Secaucus, NJ 07094
 ALTE STORE                                                      INVENTORY                                                                                                $51,835.00
 330 CODMAN HILL
 RD.
 Boxborough, MA
 01719
 ALTERNATIVE                                                     COLLECTION OF          Contingent                                                                        $51,835.00
 ENERGY STORE,                                                   MONEY DUE,             Unliquidated
 INC.                                                            CIVIL CASE NO.         Disputed
 JAIME APONTE                                                    SJ2019CV07411
 PARSI LAW OFFICE
 PO BOX 270435
 San Juan, PR 00921
 CED GREENTECH                                                   INVENTORY                                                                                              $392,616.95
 MIAMI
 3139 N ANDREWS
 AVE EXT.
 Pompano Beach, FL
 33064
 CONDADO 6, LLC                                                  COMMERCIAL                                                                                             $125,539.00
 1519 PONCE DE                                                   CREDIT FACILITY
 LEON AVE.
 SUITE 311
 San Juan, PR 00919

Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy
                Case:19-05891-ESL7 Doc#:1 Filed:10/10/19 Entered:10/10/19 16:35:31                                                                      Desc: Main
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 Debtor    NEW ENERGY CONSULTANTS & CONTRACTORS, LLC                                                          Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 DEPARTMENT OF                                                   WITHHOLDING                                                                                            $109,697.33
 TREASURY                                                        TAX FOR
 PO BOX 9024140                                                  SERVICES,
 San Juan, PR                                                    INCOME AND
 00902-4140                                                      SALARIES
 DIRECT RELIEF                                                   DIRECT RELIEF' S Contingent                                                                            $138,000.00
 PUERTO RICO                                                     ALLEGED          Unliquidated
 6400 WALLACE                                                    INVENTORY IN     Disputed
 BECKNELL RD.                                                    DEBTOR'S
 SANTA BARBARA,                                                  POSSESSION.
 CA 93117                                                        CIVIL CASE NO.
                                                                 SJ2019CV09387
 GLENN                                                           INVENTORY                                                                                                $74,035.80
 INTERNATIONAL,
 INC.
 PO BOX 3500
 Carolina, PR
 00984-3500
 HUDSON                                                          INVENTORY                                                                                              $160,000.00
 RENEWABLE LLC
 2705 MAIN STREET
 LAWRENCE, VI
 00864-8000
 INTERNAL                                                        FICA & FUTA                                                                                            $131,000.00
 REVENUE SERVICE
 Philadelphia, PA
 19154
 JOHN FITZPATRICK                                                DEPOSIT FOR                                                                                            $111,124.00
 ROCKERFELLER                                                    PHOTOVOLTAIC
 NATURE TRAIL                                                    SYSTEM
 Dorado, PR 00646
 MAXIMO SOLAR                                                    INVENTORY                                                                                            $1,846,086.17
 INDUSTRIES                                                      SOLD ON CREDIT
 PO BOX 3062                                                     UP TO 09/20/2019
 Aguadilla, PR 00605                                             (INSIDER)
 MOISES GARIB                                                    COMMISSIONS                                                                                              $47,239.70
 1586 ROBALO ST.
 URB. BAHIA
 VISTAMAR
 Carolina, PR 00983
 STATE INSURANCE                                                 WORKMAN'S                                                                                                $52,724.76
 FUND                                                            COMPENSATION
 PO BOX 270435                                                   INSURANCE
 San Juan, PR 00927                                              PREMIUMS
 SUNNOVA ENERGY                                                  CHANNEL                                                                                                $967,273.00
 CORPORATION                                                     PARTNER
 20 GREENWAY                                                     AGREEMENT
 PLAZA #475                                                      DISPUTE
 HOUSTON, TX
 77046




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy
                Case:19-05891-ESL7 Doc#:1 Filed:10/10/19 Entered:10/10/19 16:35:31                                                                      Desc: Main
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 Debtor    NEW ENERGY CONSULTANTS & CONTRACTORS, LLC                                                          Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 TABUCHI ELECTRIC                                                INVENTORY                                                                                            $1,115,500.00
 5225 HELLYER AVE.                                               PURCHASED UP
 SUITE 150                                                       TO 03/01/2019
 San Jose, CA 95138
 TESLA                                                           SOLAR PANELS                                                                                           $281,025.04
 3500 DEER CREEK                                                 PURCHASED UP
 RD.                                                             TO 08/21/2019
 Palo Alto, CA 94304
 WARREN DEL                                                      INVENTORY                                                                                              $885,885.51
 CARIBE                                                          PURCHASED UP
 RD # 1, KM. 33.3                                                TO 09/26/2019
 BAIROA WARD
 CAGUAS, PR




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy
           Case:19-05891-ESL7 Doc#:1 Filed:10/10/19 Entered:10/10/19 16:35:31                                                                     Desc: Main
                                    Document Page 9 of 47
 Fill in this information to identify the case:

 Debtor name          NEW ENERGY CONSULTANTS & CONTRACTORS, LLC

 United States Bankruptcy Court for the:            DISTRICT OF PUERTO RICO

 Case number (if known)
                                                                                                                                                  Check if this is an
                                                                                                                                                  amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
          No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
          Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                        Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                    Amount of claim             Value of collateral
                                                                                                                                                    that supports this
                                                                                                                        Do not deduct the value     claim
                                                                                                                        of collateral.
        PARLIAMENT HIGH YIELD
 2.1                                                                                                                         $2,347,000.00             $2,347,000.00
        FUND, LLC                                     Describe debtor's property that is subject to a lien
        Creditor's Name                               INVENTORY, RECEIVABLES AND PERSONAL
        221 PONCE DE LEON AVE.                        PROPERTY
        SUITE 801
        San Juan, PR 00918
        Creditor's mailing address                    Describe the lien
                                                      COMMERCIAL TRANSACTION LIEN
                                                      Is the creditor an insider or related party?
        lc@parliamentcapital.com                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
        04/09/2019                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



                                                                                                                              $2,347,000.0
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                        0

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
         O'NEILL & BORGES
         250 MUNOZ RIVERA AVE., SUITE 800                                                                       Line   2.1
         ATTN. ALFREDO ALVAREZ
         San Juan, PR 00918




Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                     page 1 of 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
            Case:19-05891-ESL7 Doc#:1 Filed:10/10/19 Entered:10/10/19 16:35:31                                                                  Desc: Main
                                     Document Page 10 of 47
 Fill in this information to identify the case:

 Debtor name         NEW ENERGY CONSULTANTS & CONTRACTORS, LLC

 United States Bankruptcy Court for the:            DISTRICT OF PUERTO RICO

 Case number (if known)
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                     $32,647.93          $32,647.93
           CRIM                                                      Check all that apply.
           PO BOX 195387                                                Contingent
           San Juan, PR 00919-5387                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           MAY 2018, MAY 2019                                        UNP 2018 AND UNP 2019

           Last 4 digits of account number 4489                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       $5,499.00         $3,025.00
           DAVID MORALES                                             Check all that apply.
           URB. PAOLO B-4, RD. 787, KM. 5.2                             Contingent
           BEATRIZ WARD                                                 Unliquidated
           Caguas, PR 00725                                             Disputed

           Date or dates debt was incurred                           Basis for the claim:
           04/01/2019                                                DEPOSIT FOR PHOTOVOLTAIC SYSTEM

           Last 4 digits of account number 6903                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                page 1 of 27
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                   55544                               Best Case Bankruptcy
           Case:19-05891-ESL7 Doc#:1 Filed:10/10/19 Entered:10/10/19 16:35:31                                                               Desc: Main
                                    Document Page 11 of 47
              NEW ENERGY CONSULTANTS & CONTRACTORS,
 Debtor       LLC                                                                                             Case number (if known)
              Name

 2.3      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $8,537.18    $8,537.18
          DEPARTMENT OF LABOR &                                      Check all that apply.
          HUMAN RESOURCES                                               Contingent
          PO BOX 191020                                                 Unliquidated
          San Juan, PR 00919                                            Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2018-2019                                                  UNEMPLOYMENT & DISABILTY TAX

          Last 4 digits of account number 4489                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.4      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $109,697.33    $109,697.33
          DEPARTMENT OF TREASURY                                     Check all that apply.
          PO BOX 9024140                                                Contingent
          San Juan, PR 00902-4140                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     WITHHOLDING TAX FOR SERVICES, INCOME
          12/2018 -6/2019                                            AND SALARIES

          Last 4 digits of account number 2352                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.5      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $42,824.50    Unknown
          DIANA BEREZDIVIN                                           Check all that apply.
          G-1 GREEN HILLS ST.                                           Contingent
          GARDEN HILLS                                                  Unliquidated
          Guaynabo, PR 00968                                            Disputed

          Date or dates debt was incurred                            Basis for the claim:
          05/30/2019                                                 DEPOSIT FOR PHOTOVOLTAIC SYSTEM

          Last 4 digits of account number 6941                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.6      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $12,000.00    $3,025.00
          EDWIN BLANCO                                               Check all that apply.
          URB. PARQUE REAL                                              Contingent
          N-1 DIAMANTE ST.                                              Unliquidated
          Lajas, PR 00667                                               Disputed

          Date or dates debt was incurred                            Basis for the claim:
          08/15/2019                                                 DEPOSIT FOR PHOTOVOLTAIC SYSTEM

          Last 4 digits of account number 7012                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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              NEW ENERGY CONSULTANTS & CONTRACTORS,
 Debtor       LLC                                                                                             Case number (if known)
              Name

 2.7      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $232.00     $232.00
          EDWIN SERRANO LUNA                                         Check all that apply.
          1233 SANTA MARIA ST.                                          Contingent
          JUANA MATOS WARD                                              Unliquidated
          Catano, PR 00962                                              Disputed

          Date or dates debt was incurred                            Basis for the claim:
          10/04/2019                                                 VACATIONS
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.8      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $4,282.74    $4,282.74
          FIDENCIO ALDAMUY COLON                                     Check all that apply.
          AJ 23 RIO INGENIO STREET                                      Contingent
          RIO HONDO                                                     Unliquidated
          Toa Baja, PR 00949                                            Disputed

          Date or dates debt was incurred                            Basis for the claim:
          10/04/2019                                                 VACATIONS (INSIDER)
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.9      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $12,250.00    $3,025.00
          HUGO SIMIBLE                                               Check all that apply.
          1050 MARIANA ST.                                              Contingent
          San Juan, PR 00907                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          09/05/2019                                                 DEPOSIT FOR PHOTOVOLTAIC SYSTEM

          Last 4 digits of account number 7009                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.10     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $131,000.00    $131,000.00
          INTERNAL REVENUE SERVICE                                   Check all that apply.
                                                                        Contingent
          Philadelphia, PA 19154                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2018-2019                                                  FICA & FUTA

          Last 4 digits of account number 4489                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




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 Debtor       LLC                                                                                             Case number (if known)
              Name

 2.11     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $10,000.00    $3,025.00
          JAZMIN DIAZ                                                Check all that apply.
          EXT. ESTANCIAS DEL SOL                                        Contingent
          1-A, 7TH ST.                                                  Unliquidated
          Rio Grande, PR 00745                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
          04/28/2018                                                 DEPOSIT FOR PHOTOVOLTAIC SYSTEM

          Last 4 digits of account number 4259                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.12     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $7,500.00    $3,025.00
          JEFFREY MARON                                              Check all that apply.
          26 VISTA BAHIA                                                Contingent
          Cabo Rojo, PR 00623                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          07/30/2019                                                 DEPOSIT FOR PHOTOVOLTAIC SYSTEM

          Last 4 digits of account number 7000                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.13     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $20,927.00    $3,025.00
          JENNIFER ALLORA                                            Check all that apply.
          8 URB. PUNTA DEL VIENTO                                       Contingent
          Culebra, PR 00775                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          12/31/2018                                                 DEPOSIT FOR PHOTOVOLTAIC SYSTEM

          Last 4 digits of account number 6830                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.14     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $10,390.00    $3,025.00
          JOEL RIVERA                                                Check all that apply.
          URB. PASEO REAL                                               Contingent
          E-6 ZAFIRO ST.                                                Unliquidated
          Dorado, PR 00646                                              Disputed

          Date or dates debt was incurred                            Basis for the claim:
          08/08/2019                                                 DEPOSIT FOR PHOTOVOLTAIC SYSTEM

          Last 4 digits of account number 6985                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       LLC                                                                                             Case number (if known)
              Name

 2.15     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $111,124.00    $3,025.00
          JOHN FITZPATRICK                                           Check all that apply.
          ROCKERFELLER NATURE TRAIL                                     Contingent
          Dorado, PR 00646                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          12/28/2018                                                 DEPOSIT FOR PHOTOVOLTAIC SYSTEM

          Last 4 digits of account number 6292                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.16     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $12,599.00    $3,025.00
          JONATHAN PEREZ                                             Check all that apply.
          URB. MANSIONES DE                                             Contingent
          CULEBRINES                                                    Unliquidated
          RD. 109, KM. 25.4 INTERIOR                                    Disputed
          San Sebastian, PR 00685
          Date or dates debt was incurred                            Basis for the claim:
          06/25/2019                                                 DEPOSIT FOR PHOTOVOLTAIC SYSTEM

          Last 4 digits of account number 6983                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.17     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $1,899.00    $1,899.00
          JOSE LUIS SANTOS                                           Check all that apply.
          URB. PASEO REAL                                               Contingent
          F-13 ESMERALDA ST.                                            Unliquidated
          Dorado, PR 00646                                              Disputed

          Date or dates debt was incurred                            Basis for the claim:
          09/21/2019                                                 PHOTOVOLTAIC SYSTEM

          Last 4 digits of account number 7011                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.18     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $4,400.00    $3,025.00
          JOSE PADILLA                                               Check all that apply.
          CIUDAD JARDIN                                                 Contingent
          184 LOS ALTOS ST.                                             Unliquidated
          Gurabo, PR 00778                                              Disputed

          Date or dates debt was incurred                            Basis for the claim:
          08/07/2019                                                 DEPOSIT FOR PHOTOVOLTAIC SYSTEM

          Last 4 digits of account number 7008                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       LLC                                                                                             Case number (if known)
              Name

 2.19     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $10,350.00    $3,025.00
          JOSE UMPIERRE                                              Check all that apply.
          OECAN PARK                                                    Contingent
          11 GERTRUDIS ST.                                              Unliquidated
          San Juan, PR 00911                                            Disputed

          Date or dates debt was incurred                            Basis for the claim:
          09/17/2018                                                 DEPOSIT FOR PHOTOVOLTAIC SYSTEM

          Last 4 digits of account number 6505                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.20     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $11,940.00    $3,025.00
          JUAN SEGARRA                                               Check all that apply.
          CAMINOS DEL MAR                                               Contingent
          C-2 VIA CARACOLES ST.                                         Unliquidated
          Toa Baja, PR 00949                                            Disputed

          Date or dates debt was incurred                            Basis for the claim:
          05/31/2019                                                 DEPOSIT FOR PHOTOVOLTAIC SYSTEM

          Last 4 digits of account number 6969                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.21     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $396.00     $396.00
          JUDITH RAMOS MORALES                                       Check all that apply.
          URB. VILLA COOP                                               Contingent
          G-20, 9TH STREET                                              Unliquidated
          Carolina, PR 00984                                            Disputed

          Date or dates debt was incurred                            Basis for the claim:
          10/04/2019                                                 VACATIONS
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.22     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $462.00     $462.00
          JULIO LEDESMA                                              Check all that apply.
          AVE. CHALETS DEL PARQUE                                       Contingent
          APT. 4D                                                       Unliquidated
          Guaynabo, PR 00969                                            Disputed

          Date or dates debt was incurred                            Basis for the claim:
          10/04/2019                                                 VACATIONS
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       LLC                                                                                             Case number (if known)
              Name

 2.23     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $6,210.00    $3,025.00
          JULIO NORIEGA                                              Check all that apply.
          HACIENDA SAN JOSE                                             Contingent
          39 LA ESTANCIA ST.                                            Unliquidated
          Caguas, PR 00725                                              Disputed

          Date or dates debt was incurred                            Basis for the claim:
          06/05/2018                                                 DEPOSIT FOR PHOTOVOLTAIC SYSTEM

          Last 4 digits of account number 4965                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.24     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $1,500.00    $1,500.00
          KENNETH TAMAYO                                             Check all that apply.
          404 CONSTITUCION AVE.                                         Contingent
          APT. 1606                                                     Unliquidated
          San Juan, PR 00901                                            Disputed

          Date or dates debt was incurred                            Basis for the claim:
          08/06/2019                                                 DEPOSIT FOR PHOTOVOLTAIC SYSTEM

          Last 4 digits of account number 7006                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.25     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $2,625.00    $2,625.00
          LUIS C. MUNIZ CARO                                         Check all that apply.
          142 CALLE 2, C-15                                             Contingent
          URB. NUEVO SAN ANTONIO                                        Unliquidated
          AGUADILLA, PR                                                 Disputed

          Date or dates debt was incurred                            Basis for the claim:
          10/04/2019                                                 VACATIONS
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.26     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $19,155.00    $3,025.00
          LUIS LOMBA                                                 Check all that apply.
          5 FLAMBOYAN GREEN R/10                                        Contingent
          PALMAS DEL MAR                                                Unliquidated
          HUMACAO, PR                                                   Disputed

          Date or dates debt was incurred                            Basis for the claim:
          04/26/2019                                                 DEPOSIT FOR PHOTOVOLTAIC SYSTEM

          Last 4 digits of account number 4033                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       LLC                                                                                             Case number (if known)
              Name

 2.27     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $17,550.00    $3,025.00
          LUIS VELEZ                                                 Check all that apply.
          BLOCK G, LOT 10 MORNING DEW                                   Contingent
          ST.                                                           Unliquidated
          SUNRISE, PALMAS DEL MAR                                       Disputed
          Humacao, PR 00791
          Date or dates debt was incurred                            Basis for the claim:
          05/17/2019                                                 DEPOSIT FOR PHOTOVOLTAIC SYSTEM

          Last 4 digits of account number 6953                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.28     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $10,300.00    $3,025.00
          MICHY LLOVERAS                                             Check all that apply.
          JAGUAS ST.                                                    Contingent
          Ciales, PR 00638                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          03/13/2019                                                 DEPOSIT FOR PHOTOVOLTAIC SYSTEM

          Last 4 digits of account number 6892                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.29     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $3,159.22    $3,159.22
          MOISES GARIB                                               Check all that apply.
          1586 ROBALO ST.                                               Contingent
          Carolina, PR 00983                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          10/04/2019                                                 COMMISSIONS
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.30     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $21,684.50    $21,684.50
          MUNICIPALITY OF SAN JUAN                                   Check all that apply.
          PO BOX 70179                                                  Contingent
          San Juan, PR 00936-8179                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          10/04/2018                                                 MUNICIPAL PATENT TAX
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




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 Debtor       LLC                                                                                             Case number (if known)
              Name

 2.31     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $278.96     $278.96
          NORMAN AYBAR                                               Check all that apply.
          URB. VALLE ESCONDIDO                                          Contingent
          BUZON 35                                                      Unliquidated
          Guaynabo, PR 00971                                            Disputed

          Date or dates debt was incurred                            Basis for the claim:
          10/04/2019                                                 COMMISSIONS
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.32     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $10,799.00    $3,025.00
          PADRE JOSE RACHE                                           Check all that apply.
          PARROQUIA SAN ANTONIO DE                                      Contingent
          PADUA                                                         Unliquidated
          7 ASHFORD ST.                                                 Disputed
          Guayama, PR 00784
          Date or dates debt was incurred                            Basis for the claim:
          04/30/2019                                                 DEPOSIT FOR PHOTOVOLTAIC SYSTEM

          Last 4 digits of account number 6933                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.33     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $176.00     $176.00
          RAMSES R. MARRERO                                          Check all that apply.
          ECHEVARRIA                                                    Contingent
          BOSQUE DEL RIO 410, APT. 124                                  Unliquidated
          RD. 876                                                       Disputed
          Trujillo Alto, PR 00976
          Date or dates debt was incurred                            Basis for the claim:
          10/04/2019                                                 VACATIONS
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.34     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $13,559.40    $3,025.00
          ROBERTO QUINONES                                           Check all that apply.
          RD. 482, KM. 0.6                                              Contingent
          COCOS WARD                                                    Unliquidated
          Quebradillas, PR 00678                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          07/22/2019                                                 DEPOSIT FOR PHOTOVOLTAIC SYSTEM

          Last 4 digits of account number 6981                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       LLC                                                                                             Case number (if known)
              Name

 2.35     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $4,950.00    $3,025.00
          SAMUEL AMILL                                               Check all that apply.
          URB. ARENA                                                    Contingent
          CALLE HERNANDEZ CARRION                                       Unliquidated
          Manati, PR 00674                                              Disputed

          Date or dates debt was incurred                            Basis for the claim:
          07/06/2018                                                 DEPOSIT FOR PHOTOVOLTAIC SYSTEM

          Last 4 digits of account number 5359                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.36     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $7,326.00    $3,025.00
          SERGIO MEDINA                                              Check all that apply.
          URB. SAVANNAH REAL                                            Contingent
          L-2 PASEO BARCELONA                                           Unliquidated
          San Lorenzo, PR 00754                                         Disputed

          Date or dates debt was incurred                            Basis for the claim:
          07/23/2019                                                 DEPOSIT FOR PHOTOVOLTAIC SYSTEM

          Last 4 digits of account number 6997                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.37     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $9,950.00    $3,025.00
          SHALIMAR MONTANEZ                                          Check all that apply.
          URB. ALTURAS DE TERRA LINDA                                   Contingent
          K-14 JAZMIN ST.                                               Unliquidated
          YABUCOA, PR                                                   Disputed

          Date or dates debt was incurred                            Basis for the claim:
          10/03/2018                                                 DEPOSIT FOR PHOTOVOLTAIC SYSTEM

          Last 4 digits of account number 6670                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.38     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $5,999.00    $3,025.00
          SIXTA VAZQUEZ                                              Check all that apply.
          CANDELERO ARRIBA WARD                                         Contingent
          RD 3 KM 87.9                                                  Unliquidated
          Humacao, PR 00791                                             Disputed

          Date or dates debt was incurred                            Basis for the claim:
          08/06/2019                                                 DEPOSIT FOR PHOTOVOLTAIC SYSTEM

          Last 4 digits of account number 7005                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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               NEW ENERGY CONSULTANTS & CONTRACTORS,
 Debtor        LLC                                                                                            Case number (if known)
               Name

 2.39       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                         $52,724.76         $52,724.76
            STATE INSURANCE FUND                                     Check all that apply.
            PO BOX 270435                                               Contingent
            San Juan, PR 00927                                          Unliquidated
                                                                        Disputed

            Date or dates debt was incurred                          Basis for the claim:
                                                                     WORKMAN'S COMPENSATION INSURANCE
            2019                                                     PREMIUMS

            Last 4 digits of account number 4489                     Is the claim subject to offset?

            Specify Code subsection of PRIORITY                         No
            unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.40       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                          $1,346.10         $1,346.10
            VALERIE ALDAMUY COLON                                    Check all that apply.
            2011 VIA PLAYERO                                            Contingent
            CAMINO DEL MAR                                              Unliquidated
            Toa Baja, PR 00949                                          Disputed

            Date or dates debt was incurred                          Basis for the claim:
            10/04/2019                                               COMMISSIONS
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                         No
            unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.41       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                             $432.50        $432.50
            XIOMARA HERNANDEZ                                        Check all that apply.
            70 PAVIA FERNANDEZ ST.                                      Contingent
            San Sebastian, PR 00685                                     Unliquidated
                                                                        Disputed

            Date or dates debt was incurred                          Basis for the claim:
            10/04/2019                                               COMMISSIONS
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                         No
            unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.42       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                             $448.00        $448.00
            YASHIRA A. MONTALVO MOORE                                Check all that apply.
            MANSIONES DE MONTECASINO 2                                  Contingent
            F-11 # 600 REINITA STREET                                   Unliquidated
            Toa Alta, PR 00953                                          Disputed

            Date or dates debt was incurred                          Basis for the claim:
            10/04/2019                                               VACATIONS
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                         No
            unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes



 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
        3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
           out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim




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 Debtor       LLC                                                                                     Case number (if known)
              Name

 3.1      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $234.14
          ABC ELECTRONIC SECURITY SYSTEMS                                       Contingent
          260,DE DIEGO AVE.                                                     Unliquidated
          PUERTO NUEVO                                                          Disputed
          San Juan, PR 00920
                                                                             Basis for the claim:    ALARM SERVICES
          Date(s) debt was incurred 05/01/2018
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.2      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $128.75
          ABL ARCHITECTURAL PRODUCTS CORP.                                      Contingent
          4327 SOUTH HIGHWAY 27                                                 Unliquidated
          SUITE 167                                                             Disputed
          Clermont, FL 34711
                                                                             Basis for the claim:    ARCHITECTURAL PRODUCTS
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $57,099.66
          ADMINISTRACION DE TERRENOS                                            Contingent
          PO BOX 363767                                                         Unliquidated
          San Juan, PR 00936-3767                                               Disputed
          Date(s) debt was incurred 06/01/2019
                                                                             Basis for the claim:    ACCRUED RENT OWED FOR CHARDON DEMISED
          Last 4 digits of account number                                    PROPERTY
                                                                             Is the claim subject to offset?     No       Yes

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,665.15
          ADNET                                                                 Contingent
          PO BOX 250132                                                         Unliquidated
          AGUADILLA, PR                                                         Disputed
          Date(s) debt was incurred      09/01/2019                          Basis for the claim:    PHONE SERVER
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $278,153.75
          AEE SOLAR
          775 FIERO LANE                                                        Contingent
          SUITE 200                                                             Unliquidated
          San Luis Obispo, CA 93401                                             Disputed
          Date(s) debt was
                                                                             Basis for the claim:    INVENTORY PURCHASED ON CREDIT
          incurred 08/02/2019         - LAST TRANSACTION
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,569.97
          AFLAC                                                                 Contingent
          1932 WYNNTON RD.                                                      Unliquidated
          Columbus, GA 31999                                                    Disputed
          Date(s) debt was incurred      08/01/2019                          Basis for the claim:    INSURANCE PREMIUMS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $109.99
          AGT DISTRIBUTORS                                                      Contingent
          435 ANDALUCIA AVE.                                                    Unliquidated
          PUERTO NUEVO                                                          Disputed
          San Juan, PR 00920
                                                                             Basis for the claim:    INVENTORY PURCHASED ON CREDIT
          Date(s) debt was incurred 01/23/2019
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 Debtor       LLC                                                                                     Case number (if known)
              Name

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $289.85
          ALARM DEPOT                                                           Contingent
          PO BOX 270304                                                         Unliquidated
          San Juan, PR 00928-3104                                               Disputed
          Date(s) debt was incurred 03/31/2019
                                                                             Basis for the claim:    ALARM PARTS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $45,382.50
          ALC INDUSTRIAL DEVELOPMENT                                            Contingent
          URB. ALTAMIRA                                                         Unliquidated
          546 ALDEBARAN ST.                                                     Disputed
          San Juan, PR 00920
                                                                             Basis for the claim:    RENT ACCRUED UP TO 09/01/2019
          Date(s) debt was incurred 09/01/2019
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $547.00
          ALFREDO URIARTE                                                       Contingent
          VERDELUZ ST.                                                          Unliquidated
          Gurabo, PR 00778                                                      Disputed
          Date(s) debt was incurred      06/21/2019                          Basis for the claim:    COFFEE SUPPLIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $46,906.40
          ALLIED BUILDING PRODUCTS                                              Contingent
          600 SECAUCUS RD.                                                      Unliquidated
          SUITE 2                                                               Disputed
          Secaucus, NJ 07094
                                                                             Basis for the claim:    INVENTORY SOLD ON CREDIT UP TO 08/26/2019
          Date(s) debt was incurred 08/26/2019
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $27,599.32
          ALLIED CAR & TRUCK RENTAL                                             Contingent
          PO BOX 38902                                                          Unliquidated
          San Juan, PR 00928                                                    Disputed
          Date(s) debt was incurred 07/02/2019
                                                                             Basis for the claim:    ACCRUED MOTOR VEHICLES RENT OWED UP TO
          Last 4 digits of account number                                    07/02/2019
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $51,835.00
          ALTE STORE                                                            Contingent
          330 CODMAN HILL RD.                                                   Unliquidated
          Boxborough, MA 01719                                                  Disputed
          Date(s) debt was incurred 12/21/2018
                                                                             Basis for the claim:    INVENTORY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $51,835.00
          ALTERNATIVE ENERGY STORE, INC.                                        Contingent
          JAIME APONTE PARSI LAW OFFICE
                                                                                Unliquidated
          PO BOX 270435
          San Juan, PR 00921                                                    Disputed

          Date(s) debt was incurred 07/21/2019                               Basis for the claim:    COLLECTION OF MONEY DUE, CIVIL CASE NO.
          Last 4 digits of account number                                    SJ2019CV07411
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       LLC                                                                                     Case number (if known)
              Name

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,200.00
          AMENIC PRODUCTIONS                                                    Contingent
          GJ-22 STREET 201                                                      Unliquidated
          COUNTRY CLUB                                                          Disputed
          Carolina, PR 00982-2000
                                                                             Basis for the claim:    ADVERTISING
          Date(s) debt was incurred 07/22/2019
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $1.00
          ANALYTICS & ENERGY CONSULTANTS                                        Contingent
          283 MUNOZ RIVERA ST.                                                  Unliquidated
          Bayamon, PR 00959                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CONSULTANT'S FEE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $8,324.90
          ART ROOFING & LWC CONTRACTORS,                                        Contingent
          CORP.                                                                 Unliquidated
          PO BOX 8005321                                                        Disputed
          COTO LAUREL, PR 00780
                                                                             Basis for the claim:    PROFESSIONL SERVICES RENDERED UP TO
          Date(s) debt was incurred 07/10/2019
                                                                             07/10/2019
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $50.00
          AT & T                                                                Contingent
          PO BOX 6463                                                           Unliquidated
          Carol Stream, IL 60197-6463                                           Disputed
          Date(s) debt was incurred 09/18/2019
                                                                             Basis for the claim:    MOBILE COMMUNICATIONS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,845.76
          ATLANTIC CAPITAL INSURANCE                                            Contingent
          PO BOX 3450                                                           Unliquidated
          Mayaguez, PR 00681-3450                                               Disputed
          Date(s) debt was incurred 08/30/2019
                                                                             Basis for the claim:    FINANCED INSURANCE PREMIUMS OWED UP TO
          Last 4 digits of account number                                    08/30/2019
                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $60.00
          BAEZ CHAO LAW OFFICES                                                 Contingent
          PMB 106                                                               Unliquidated
          100 PASEO BLVD., SUITE 112                                            Disputed
          San Juan, PR 00926-5955
                                                                             Basis for the claim:    LEGAL SERVICES
          Date(s) debt was incurred 05/29/2019
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $13,997.00
          BANCO POPULAR DE PUERTO                                               Contingent
          PO BOX 362708                                                         Unliquidated
          San Juan, PR 00936-2708                                               Disputed
          Date(s) debt was incurred 09/06/2014
                                                                             Basis for the claim:    RENT OWED MAZDA 6, 2014, LICENSE NO. IJN-115
          Last 4 digits of account number 5121
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       LLC                                                                                     Case number (if known)
              Name

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,919.99
          BATISTA OFFICE SUPPLY                                                 Contingent
          URB. SIERRA BAYAMON                                                   Unliquidated
          70-1 STREET 60                                                        Disputed
          Bayamon, PR 00961
                                                                             Basis for the claim:    OFFICES SUPPLIES
          Date(s) debt was incurred 08/07/2019
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $7,100.00
          BENJAMIN GONZALEZ GONZALEZ                                            Contingent
          H-1 GOLONDRINA ST.                                                    Unliquidated
          URB. MONTE CASINO I
                                                                                Disputed
          Toa Alta, PR 00953
          Date(s) debt was incurred 01/13/2018
                                                                                           CONTRACT BREACH AND COLLECTION OF MONEY
                                                                             Basis for the claim:
                                                                             CIVIL CASE NO. SJ2019CV07077
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $796.96
          CARIBBEAN ENERGY                                                      Contingent
          PR-3 WITH ROBERTO CLEMENTE AVE                                        Unliquidated
          Carolina, PR 00985                                                    Disputed
          Date(s) debt was incurred 03/14/2019
                                                                             Basis for the claim:    INVENTORY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,500.00
          CARIBBEAN LUMBER & HARDWARE                                           Contingent
          PO BOX 190858                                                         Unliquidated
          San Juan, PR 00919-0858                                               Disputed
          Date(s) debt was incurred 10/19/2018
                                                                             Basis for the claim:    LUMBER AND HARDWARE PRODUCTS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $60.00
          CARIBE ENERGY DISTRIBUTORS                                            Contingent
          PR 3 WITH ROBERTO CLEMENTE AVE.                                       Unliquidated
          Carolina, PR 00985                                                    Disputed
          Date(s) debt was incurred 12/31/2018
                                                                             Basis for the claim:    INVENTORY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $1.00
          CARIBE RECYCLING CORP.                                                Contingent
          HC-01 BOX 29030                                                       Unliquidated
          PMB 20                                                                Disputed
          Caguas, PR 00725-8900
                                                                             Basis for the claim:    RECYCLING SERVICES
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,460.00
          CARRIER CREDIT SERVICE, INC.                                          Contingent
          5350 W. HILLSBORO BLVD.                                               Unliquidated
          SUITE 107                                                             Disputed
          Pompano Beach, FL 33073-4936
                                                                             Basis for the claim:    FREIGHT LATE CHARGES
          Date(s) debt was incurred 06/18/2019
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 Debtor       LLC                                                                                     Case number (if known)
              Name

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $392,616.95
          CED GREENTECH MIAMI                                                   Contingent
          3139 N ANDREWS AVE EXT.                                               Unliquidated
          Pompano Beach, FL 33064                                               Disputed
          Date(s) debt was incurred 03/25/2019
                                                                             Basis for the claim:    INVENTORY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,344.00
          CJ QUIÑONEZ ENGINEERING, PSC                                          Contingent
          URB. LA SERRANIA                                                      Unliquidated
          223 LIRIOS ST.                                                        Disputed
          Caguas, PR 00725
                                                                             Basis for the claim:    ENGINEER'S FEE
          Date(s) debt was incurred 08/16/2019
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $125,539.00
          CONDADO 6, LLC                                                        Contingent
          1519 PONCE DE LEON AVE.                                               Unliquidated
          SUITE 311                                                             Disputed
          San Juan, PR 00919
                                                                             Basis for the claim:    COMMERCIAL CREDIT FACILITY
          Date(s) debt was incurred 03/23/2018
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,000.00
          CONDADO BROADCASTING LLC                                              Contingent
          1315 ASHFORD AVE.                                                     Unliquidated
          AQUAMARINA SUITE 601                                                  Disputed
          San Juan, PR 00907
                                                                             Basis for the claim:    ADVERTISING
          Date(s) debt was incurred 04/30/2019
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $90.23
          COPYJET, INC.                                                         Contingent
          PO BOX 363912                                                         Unliquidated
          San Juan, PR 00936-3912                                               Disputed
          Date(s) debt was incurred 05/29/2018
                                                                             Basis for the claim:    OFFICE SUPPLIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $300.00
          DAVID DUNTLEY                                                         Contingent
          URB. VERSALLES                                                        Unliquidated
          Q2 15TH STREET                                                        Disputed
          Bayamon, PR 00956
                                                                             Basis for the claim:    LIENT REFUND
          Date(s) debt was incurred      04/21/2019
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $138,000.00
          DIRECT RELIEF PUERTO RICO                                             Contingent
          6400 WALLACE BECKNELL RD.
                                                                                Unliquidated
          SANTA BARBARA, CA 93117
                                                                                Disputed
          Date(s) debt was incurred 09/11/2019
          Last 4 digits of account number                                                DIRECT RELIEF' S ALLEGED INVENTORY IN
                                                                             Basis for the claim:
                                                                             DEBTOR'S POSSESSION. CIVIL CASE NO. SJ2019CV09387
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       LLC                                                                                     Case number (if known)
              Name

 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,417.75
          EC WASTE                                                              Contingent
          PO BOX 918                                                            Unliquidated
          PUNTA SANTIAGO                                                        Disputed
          Punta Santiago, PR 00741-0918
                                                                             Basis for the claim:    WASTE DISPOSAL SERVICES PROVIDED UP TO
          Date(s) debt was incurred 07/31/2019
                                                                             07/31/2019
          Last 4 digits of account number 8655
                                                                             Is the claim subject to offset?     No       Yes

 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $1.00
          ECO MECHANICAL, INC.                                                  Contingent
          PO BOX 70250                                                          Unliquidated
          San Juan, PR 00936                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    INSTALLER
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,900.00
          EDWIN REYES MACHADO                                                   Contingent
          124 RD. 684                                                           Unliquidated
          Barceloneta, PR 00617                                                 Disputed
          Date(s) debt was incurred 09/11/2019
                                                                             Basis for the claim:    DRAFTMAN'S FEES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $842.95
          EJOST FASTENING SYSTEMS, LP                                           Contingent
          9900 58TH PLACE                                                       Unliquidated
          SUITE 300                                                             Disputed
          Kenosha, WI 53144
                                                                             Basis for the claim:    INVENTORY
          Date(s) debt was incurred 03/31/2019
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $750.00
          EKO                                                                   Contingent
          114 URUGUAY ST.                                                       Unliquidated
          San Juan, PR 00917                                                    Disputed
          Date(s) debt was incurred      01/23/2018                          Basis for the claim:    ADVERTISING
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $879.07
          ESTRELLA, LLC ATTORNEYS AND                                           Contingent
          COUNSELORS                                                            Unliquidated
          PO BOX 9023596                                                        Disputed
          San Juan, PR 00902-3596
                                                                             Basis for the claim:    LEGAL SERVICES
          Date(s) debt was incurred 12/06/2018
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,518.40
          EXPO GALLERY                                                          Contingent
          PMB 514                                                               Unliquidated
          1353 RD. 19                                                           Disputed
          Guaynabo, PR 00966-2715
                                                                             Basis for the claim:    ADVERTISING
          Date(s) debt was incurred 10/23/2018
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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              NEW ENERGY CONSULTANTS & CONTRACTORS,
 Debtor       LLC                                                                                     Case number (if known)
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 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $792.58
          GFR MEDIA                                                             Contingent
          PO BOX 9227512                                                        Unliquidated
          SAN JUAN, PR 00922-7512                                               Disputed
          Date(s) debt was incurred 10/01/2019
                                                                             Basis for the claim:    ADVERTISING FEES ACCRUED UP TO 10/01/2019
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $74,035.80
          GLENN INTERNATIONAL, INC.                                             Contingent
          PO BOX 3500                                                           Unliquidated
          Carolina, PR 00984-3500                                               Disputed
          Date(s) debt was incurred 06/25/2019
                                                                             Basis for the claim:    INVENTORY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $431.17
          GRAYBAR                                                               Contingent
          BEST THREE BLDG., LOT A                                               Unliquidated
          18 JOSE TONY SANTANA, SUITE C-15                                      Disputed
          Carolina, PR 00979-1547
                                                                             Basis for the claim:    INVENTORY
          Date(s) debt was incurred 05/15/2019
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $119.00
          HI-TECH PRODUCTS, INC.                                                Contingent
          PO BOX 3739                                                           Unliquidated
          Carolina, PR 00984                                                    Disputed
          Date(s) debt was incurred 03/13/2019
                                                                             Basis for the claim:    INVENTORY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $8,360.13
          HILTI CARIBE LLC                                                      Contingent
          PO BOX 194949                                                         Unliquidated
          San Juan, PR 00919-4949                                               Disputed
          Date(s) debt was incurred 09/12/2019
                                                                             Basis for the claim:    INVENTORY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $8,471.19
          HOME DEPOT                                                            Contingent
          PO BOX 78047                                                          Unliquidated
          Phoenix, AZ 85062-8047                                                Disputed
          Date(s) debt was incurred 08/07/2019
                                                                             Basis for the claim:    INVENTORY
          Last 4 digits of account number 3335
                                                                             Is the claim subject to offset?     No       Yes

 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,900.00
          HOSTSEVEN                                                             Contingent
          EDIFICIO CORPORATIVO 20-10, SUITE 402                                 Unliquidated
          98 GUSTAVO MEJIA RICART                                               Disputed
          SANTO DOMINGO, D.R.
                                                                             Basis for the claim:    SOFTWARE
          Date(s) debt was incurred 05/21/2019
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $160,000.00
          HUDSON RENEWABLE LLC                                                  Contingent
          2705 MAIN STREET                                                      Unliquidated
          LAWRENCE, VI 00864-8000                                               Disputed
          Date(s) debt was incurred 05/21/2019
                                                                             Basis for the claim:    INVENTORY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $950.00
          I.C.C. MULTI SERVICE                                                  Contingent
          AK-32 RIO ESPIRITU SANTO ST.                                          Unliquidated
          RIO HONDO                                                             Disputed
          Bayamon, PR 00961
                                                                             Basis for the claim:    INSTALLERS SERVICES
          Date(s) debt was incurred 09/06/2019
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,435.20
          IFCO RECYCLING                                                        Contingent
          PO BOX 191744                                                         Unliquidated
          SAN JUAN, PR 00919-1744                                               Disputed
          Date(s) debt was incurred 07/01/2019
                                                                             Basis for the claim:    WASTE SERVICE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $8,000.00
          IGLESIAS VAZQUEZ & ASSOCIATES                                         Contingent
          PO BOX 9024070                                                        Unliquidated
          San Juan, PR 00902-4070                                               Disputed
          Date(s) debt was incurred 04/26/2019
                                                                             Basis for the claim:    PROFESSIONAL SERVICES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,117.50
          ISLA COOP                                                             Contingent
          PO BOX 3388                                                           Unliquidated
          Carolina, PR 00984-3388                                               Disputed
          Date(s) debt was incurred 08/22/2018
                                                                             Basis for the claim:    LOAN
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,400.00
          JAC CONSULTORES, INC.                                                 Contingent
          ALTOS DE ESCORIAL 930                                                 Unliquidated
          Carolina, PR 00984                                                    Disputed
          Date(s) debt was incurred 10/02/2018
                                                                             Basis for the claim:    ENGINEERS' FEE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $800.00
          JESUS VILLEGAS                                                        Contingent
          NN-14 32 STREET                                                       Unliquidated
          ALTURAS DE FLAMBOYAN                                                  Disputed
          BAYAMON, PR
                                                                             Basis for the claim:    INSTALLER'S FEE
          Date(s) debt was incurred 11/02/2018
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,000.00
          JOSE G. BARREIRO                                                      Contingent
          PMB 352                                                               Unliquidated
          PO BOX 194000                                                         Disputed
          San Juan, PR 00919-4000
                                                                             Basis for the claim:    ENGINEER'S FEES
          Date(s) debt was incurred 09/13/2019
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,067.02
          JULIO RIVERA                                                          Contingent
          URB. MIRADOR DE BAIROA                                                Unliquidated
          2-S, 26TH STREET                                                      Disputed
          Caguas, PR 00725
                                                                             Basis for the claim:    REFUND
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,118.75
          KAREN K. MORALES PEREZ, ESQ.                                          Contingent
          SUITE 205 B                                                           Unliquidated
          623 PONCE DE LEON AVE.                                                Disputed
          San Juan, PR 00917
                                                                             Basis for the claim:    LEGAL FEES
          Date(s) debt was incurred 09/17/2019
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $10,000.00
          KENNETH TAMAYO                                                        Contingent
          404 CONSTITUCION AVE.
                                                                                Unliquidated
          APT. 1606
          San Juan, PR 00901                                                    Disputed

          Date(s) debt was incurred 10/08/2019                               Basis for the claim:    DISCOVER CARD CLAIM FOR REIMBURSEMENT
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,631.25
          KERKADO ESTRADA & CO. PSC                                             Contingent
          1055 MARGINAL AVE. KENNEDY                                            Unliquidated
          SUITE 206                                                             Disputed
          San Juan, PR 00920
                                                                             Basis for the claim:    AUDITORS' FEE
          Date(s) debt was incurred 09/17/2019
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $21,549.00
          LEASE OPTION COMPANY, INC.                                            Contingent
          PO BOX 40851                                                          Unliquidated
          San Juan, PR 00940-0851                                               Disputed
          Date(s) debt was incurred 06/30/2019 (ACCRUED)
                                                                             Basis for the claim:    LEASE PAYMENTS OWED TOSHIBA PHOTOCOPIER
          Last 4 digits of account number 3772
                                                                             Is the claim subject to offset?     No       Yes

 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $21,941.25
          LEASEWAY OF PR                                                        Contingent
          PO BOX 11311                                                          Unliquidated
          CAPRRA HEIGHTS STA.                                                   Disputed
          San Juan, PR 00922
                                                                             Basis for the claim:    MOTOR VEHICLE LEASE PAYMENTS ACCRUED UP
          Date(s) debt was incurred 10/01/2019
                                                                             TO 10/01/2019
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $150.00
          LIGHT GAS                                                             Contingent
          PO BOX 1155                                                           Unliquidated
          Salinas, PR 00751                                                     Disputed
          Date(s) debt was incurred      08/16/2019                          Basis for the claim:    PROPANE GAS FOR FORKLIFT
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $864.00
          LIVE & LIFE IN PALMAS                                                 Contingent
          170 PALMA DR.                                                         Unliquidated
          APT. 36                                                               Disputed
          Humacao, PR 00791
                                                                             Basis for the claim:    ADVERTISING
          Date(s) debt was incurred 04/09/2018
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,418.87
          LPG CPA, PSC                                                          Contingent
          PMB 516                                                               Unliquidated
          133 LUIS VIGOREAUX AVE.                                               Disputed
          Guaynabo, PR 00966
                                                                             Basis for the claim:    ACCOUNTING SERVICE
          Date(s) debt was incurred 02/18/2019
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $12,596.00
          LUZ VIERA PEREZ                                                       Contingent
          HC-3 BOX 9579                                                         Unliquidated
          Lares, PR 00669                                                       Disputed
          Date(s) debt was incurred      04/16/2019                          Basis for the claim:    CLIENT REFUND
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,000.00
          MARCEL DALL PAI                                                       Contingent
                                                                                Unliquidated
          Date(s) debt was incurred      08/15/2019                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    DESIGN SERVICE
                                                                             Is the claim subject to offset?     No       Yes

 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,846,086.17
          MAXIMO SOLAR INDUSTRIES                                               Contingent
          PO BOX 3062                                                           Unliquidated
          Aguadilla, PR 00605                                                   Disputed
          Date(s) debt was incurred 09/20/2019
                                                                             Basis for the claim:    INVENTORY SOLD ON CREDIT UP TO 09/20/2019
          Last 4 digits of account number                                    (INSIDER)
                                                                             Is the claim subject to offset?     No       Yes

 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $19,196.64
          MAXIMO SOLAR INDUSTRIES FLORIDA                                       Contingent
          1003 SATELLITE BLVD.                                                  Unliquidated
          SUITE 2018                                                            Disputed
          Orlando, FL 32837
                                                                             Basis for the claim:    INVENTORY SOLD ON CREDIT UP TO 07/23/2019
          Date(s) debt was incurred 07/23/2019
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,548.00
          MCKENZIE & ASSOCIATES, LLC                                            Contingent
          POPULAR CENTER BLDG, SUITE 1008                                       Unliquidated
          208 PONCE DE LEON AVE.                                                Disputed
          San Juan, PR 00919
                                                                             Basis for the claim:    CONSULTING SERVICES
          Date(s) debt was incurred 09/05/2019
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $8,574.42
          MCS                                                                   Contingent
          PO BOX 193310                                                         Unliquidated
          San Juan, PR 00919-3310                                               Disputed
          Date(s) debt was incurred 09/01/2019
                                                                             Basis for the claim:    MEDICAL INSURANCE PREMIUMS
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,000.00
          METRO PUERTO RICO, LLC                                                Contingent
          PO BOX 1187                                                           Unliquidated
          Guaynabo, PR 00970-1187                                               Disputed
          Date(s) debt was incurred 01/02/2019
                                                                             Basis for the claim:    ADVERTISING
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,000.00
          MIGUEL TORRES VEGA                                                    Contingent
          URB. LOS FAROLES                                                      Unliquidated
          199 PASEO DE LA PRINCESA                                              Disputed
          Bayamon, PR 00956
                                                                             Basis for the claim:    REFUND
          Date(s) debt was incurred 01/01/2019
          Last 4 digits of account number 3105                               Is the claim subject to offset?     No       Yes


 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $47,239.70
          MOISES GARIB                                                          Contingent
          1586 ROBALO ST.                                                       Unliquidated
          URB. BAHIA VISTAMAR                                                   Disputed
          Carolina, PR 00983
                                                                             Basis for the claim:    COMMISSIONS
          Date(s) debt was incurred 08/23/2019
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,903.70
          MULTI-CLEAN                                                           Contingent
          PO BOX 1396                                                           Unliquidated
          Saint Just, PR 00978-1396                                             Disputed
          Date(s) debt was incurred 06/30/2019
                                                                             Basis for the claim:    CLEANING SERVICES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,864.00
          NAVARRO STRATEGIC CONSULTANT, INC.                                    Contingent
          COND. CAPRIVILAS, APT. 410                                            Unliquidated
          570 CALLE VERONA                                                      Disputed
          San Juan, PR 00924
                                                                             Basis for the claim:    CONSULTANT'S FEE
          Date(s) debt was incurred 06/15/2019
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $942.18
          OHMS ELECTRICAL & REFRIGERATION                                       Contingent
          111 CALLE CECILIO URBINA                                              Unliquidated
          3208 PORTAL DE SOFIA                                                  Disputed
          Guaynabo, PR 00969
                                                                             Basis for the claim:    PROFESSIONAL SERVICES
          Date(s) debt was incurred 07/25/2019
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,879.55
          OSNET WIRELESS                                                        Contingent
          PO BOX 819                                                            Unliquidated
          Humacao, PR 00792-0851                                                Disputed
          Date(s) debt was incurred 09/01/2019
                                                                             Basis for the claim:    INTERNET SERVICES UP TO 09/01/2019
          Last 4 digits of account number 1715
                                                                             Is the claim subject to offset?     No       Yes

 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $28,710.00
          P.A. BARCELO, LLC                                                     Contingent
          PO BOX 9021880                                                        Unliquidated
          San Juan, PR 00902-1880                                               Disputed
          Date(s) debt was incurred 09/05/2019
                                                                             Basis for the claim:    LEGAL SERVICES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $997.50
          RC PROFESSIONALS & CONSTRUCTION                                       Contingent
          SERVICES                                                              Unliquidated
          PO BOX 427                                                            Disputed
          Coamo, PR 00769
                                                                             Basis for the claim:    PROFESSIONAL SERVICES
          Date(s) debt was incurred 05/24/2019
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,006.56
          RENVU                                                                 Contingent
          1350-C PEAR AVE.                                                      Unliquidated
          Mountain View, CA 94043-1303                                          Disputed
          Date(s) debt was incurred 05/07/2019
                                                                             Basis for the claim:    INVENTORY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,537.50
          RICHARD SCHELL, ESQ.                                                  Contingent
          171 CHARDON AVE., SUITE 301                                           Unliquidated
          San Juan, PR 00918                                                    Disputed
          Date(s) debt was incurred 03/28/2019
                                                                             Basis for the claim:    LEGAL SERVICES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $917.87
          RICOH                                                                 Contingent
          PO BOX 71459                                                          Unliquidated
          San Juan, PR 00936-8559                                               Disputed
          Date(s) debt was incurred 06/21/2019
                                                                             Basis for the claim:    PRINTER LEASE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,192.07
          ROGER ELECTRIC                                                        Contingent
          PO BOX 3166                                                           Unliquidated
          Bayamon, PR 00960-3166                                                Disputed
          Date(s) debt was incurred 03/14/2019
                                                                             Basis for the claim:    ELECTRIC SUPPLIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $390.00
          RPFX LOGISTICS, LLC                                                   Contingent
          211 O'NEILL ST.                                                       Unliquidated
          HATO REY                                                              Disputed
          San Juan, PR 00918
                                                                             Basis for the claim:    TRANSPORTATION & PACKAGING
          Date(s) debt was incurred 04/23/2019
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $120.00
          SECURITY GATE & DOOR                                                  Contingent
          407 RIVADAVILA ST.                                                    Unliquidated
          URB. VALENCIA                                                         Disputed
          San Juan, PR 00923-1817
                                                                             Basis for the claim:    ALARM SERVICES
          Date(s) debt was incurred 07/01/2019
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $1.00
          SOL NEXT ENERGY                                                       Contingent
          219 ALMENDRO ST.                                                      Unliquidated
          URB. HACIENDA BORINQUEN                                               Disputed
          Caguas, PR 00725
                                                                             Basis for the claim:    SALE GROUP
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $38,088.00
          SUNJUICE SOLAR, LLC                                                   Contingent
          HCI BOX 4297                                                          Unliquidated
          Utuado, PR 00641-9354                                                 Disputed
          Date(s) debt was incurred 09/20/2019
                                                                             Basis for the claim:    INVENTORY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $967,273.00
          SUNNOVA ENERGY CORPORATION                                            Contingent
          20 GREENWAY PLAZA #475                                                Unliquidated
          HOUSTON, TX 77046                                                     Disputed
          Date(s) debt was incurred 11/13/2013
                                                                             Basis for the claim:    CHANNEL PARTNER AGREEMENT DISPUTE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $11,251.79
          SUNPOWER ENERGY                                                       Contingent
          PO BOX 4003 PMB 122                                                   Unliquidated
          Moca, PR 00676                                                        Disputed
          Date(s) debt was incurred 06/14/2019
                                                                             Basis for the claim:    INSTALLERS' FEES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              NEW ENERGY CONSULTANTS & CONTRACTORS,
 Debtor       LLC                                                                                     Case number (if known)
              Name

 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $500.00
          SUNRUN                                                                Contingent
          1515 ARAPAHOE ST.                                                     Unliquidated
          TOWER 2, SUITE 600                                                    Disputed
          Denver, CO 80202
                                                                             Basis for the claim:    INVENTORY
          Date(s) debt was incurred 12/06/2018
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,115,500.00
          TABUCHI ELECTRIC                                                      Contingent
          5225 HELLYER AVE.                                                     Unliquidated
          SUITE 150                                                             Disputed
          San Jose, CA 95138
                                                                             Basis for the claim:    INVENTORY PURCHASED UP TO 03/01/2019
          Date(s) debt was incurred      03/01/2019
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $281,025.04
          TESLA                                                                 Contingent
          3500 DEER CREEK RD.                                                   Unliquidated
          Palo Alto, CA 94304                                                   Disputed
          Date(s) debt was incurred 08/21/2019
                                                                             Basis for the claim:    SOLAR PANELS PURCHASED UP TO 08/21/2019
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $50.00
          UNITED SURETY & INDEMNITY CO.                                         Contingent
          PO BOX 2111                                                           Unliquidated
          San Juan, PR 00922-2111                                               Disputed
          Date(s) debt was incurred 10/02/2018
                                                                             Basis for the claim:    SURETY FEE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $12,193.00
          UNO RADIO GROUP                                                       Contingent
          PO BOX 363222                                                         Unliquidated
          San Juan, PR 00936-3222                                               Disputed
          Date(s) debt was incurred 11/02/2018
                                                                             Basis for the claim:    ADVERTISING EXCHANGE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $800.00
          VMO                                                                   Contingent
          PO BOX 4131                                                           Unliquidated
          Aguadilla, PR 00605                                                   Disputed
          Date(s) debt was incurred      09/06/2019                          Basis for the claim:    ENGINEER'S SERVICES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $885,885.51
          WARREN DEL CARIBE                                                     Contingent
          RD # 1, KM. 33.3                                                      Unliquidated
          BAIROA WARD                                                           Disputed
          CAGUAS, PR
                                                                             Basis for the claim:    INVENTORY PURCHASED UP TO 09/26/2019
          Date(s) debt was incurred 09/26/2019
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 Debtor       LLC                                                                                     Case number (if known)
              Name

 3.99      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $407.65
           WHOLESALE ELECTRIC DEL CARIBE                                        Contingent
                                                                                Unliquidated
           Barceloneta, PR 00617-2057                                           Disputed
           Date(s) debt was incurred 07/09/2019
                                                                             Basis for the claim:    ELECTRIC SUPPLIES
           Last 4 digits of account number
                                                                             Is the claim subject to offset?         No    Yes

 3.100     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $1.00
           WILLIAM QUINTANA                                                     Contingent
           HACIENDA LA SABANA
                                                                                Unliquidated
           29 ARECIFE ST.
           Gurabo, PR 00778                                                     Disputed

           Date(s) debt was incurred 2018                                                 ADMINISTRATIVE CLAIM IN DACO - ARECIBO
                                                                             Basis for the claim:
           Last 4 digits of account number                                   CLAIM NO. ARE-2018-0001505
                                                                             Is the claim subject to offset?         No    Yes

 3.101     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $1.00
           WORLDNET TELECOMMUNICATIONS, INC.                                    Contingent
           CENTRO INTERNACIONAL DE MERCADEO
                                                                                Unliquidated
           #90
           RD. 165, SUITE 201                                                   Disputed
           Guaynabo, PR 00968-8059                                                       TELECOMMUNICATIONS SERVICES, COLLECTION
                                                                             Basis for the claim:
           Date(s) debt was incurred 01/17/2014                              OF MONEY DUE CIVIL CASE NO. SJ2019CV05537
           Last 4 digits of account number                                   Is the claim subject to offset?         No    Yes

 3.102     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.             $12,000.00
           YAMIL CASTILLO 14373                                                 Contingent
           DORADO BEACH EAST, VILLA 444                                         Unliquidated
           Dorado, PR 00646                                                     Disputed
           Date(s) debt was incurred 09/17/2019
                                                                             Basis for the claim:    CLIENT REFUND
           Last 4 digits of account number
                                                                             Is the claim subject to offset?         No    Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                      related creditor (if any) listed?              account number, if
                                                                                                                                                     any
 4.1       ALMA Y. DURAN NIEVES, ESQ.
           COND. ALTAGRACIA, 5-C                                                                      Line     3.14
           262 URUGUAY ST.
                                                                                                             Not listed. Explain
           San Juan, PR 00917

 4.2       DIRECT RELIEF PUERTO RICO
           542 ESCORIAL AVE.                                                                          Line     3.35
           CAPRRA HEIGHTS
                                                                                                             Not listed. Explain
           San Juan, PR 00922

 4.3       JUAN MENDEZ SOLIS, ESQ.
           CITIBANK TOWER, SUITE 1402                                                                 Line     3.9
           252 PONCE DE LEON AVE.
                                                                                                             Not listed. Explain
           San Juan, PR 00918-0201




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 Debtor       LLC                                                                                Case number (if known)
              Name

           Name and mailing address                                                              On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                 related creditor (if any) listed?              account number, if
                                                                                                                                                any
 4.4       KAREN K. MORALES PEREZ, ESQ.
           SUITE 205 B, BANCO COOPERATIVO PLAZA                                                  Line     3.100
           623 PONCE DE LEON AVE.
                                                                                                        Not listed. Explain
           San Juan, PR 00917

 4.5       MARICHAL HERNANDEZ SANTIAGO & JUARBE
           PO BOX 190095                                                                         Line     3.23
           San Juan, PR 00919-0095
                                                                                                        Not listed. Explain

 4.6       TOSHIBA
           PO BOX 70243                                                                          Line     3.62                                  3772
           San Juan, PR 00936
                                                                                                        Not listed. Explain

 4.7       VIRGILIO MACHADO AVILES, ESQ.
           601 DISTRITO DE CONVENCIONES                                                          Line     3.35
           BLVD BALDORIOTY DE CASTRO
                                                                                                        Not listed. Explain
           San Juan, PR 00907


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                     Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.          $                    751,131.12
 5b. Total claims from Part 2                                                                       5b.    +     $                  6,955,104.00

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.          $                    7,706,235.12




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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                          District of Puerto Rico
 In re       NEW ENERGY CONSULTANTS & CONTRACTORS, LLC                                                          Case No.
                                                     Debtor(s)                                                  Chapter     11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                    $               10,000.00
             Prior to the filing of this statement I have received                                          $               10,000.00
             Balance Due                                                                                    $                     0.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):           In addition to the $10,000. retainer fee Debtor paid through our office $1,717.00
                                                                     for the Chapter 11 filing fee. In adddition Debtor agreed to compensate our law
                                                                     firm at the rate of $300.00/hr for services rendered plus the reimbursement of
                                                                     expenses.

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding.
                                                                             CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     October 10, 2019                                                               /s/ Jose F. Cardona Jimenez USDC-PR
     Date                                                                           Jose F. Cardona Jimenez USDC-PR 124504
                                                                                    Signature of Attorney
                                                                                    Cardona Jimenez Law Offices, PSC
                                                                                    PO Box 9023593
                                                                                    San Juan, PR 00902-3593
                                                                                    787-724-1303 Fax: 787-724-1369
                                                                                    jf@cardonalaw.com
                                                                                    Name of law firm




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                                                                        District of Puerto Rico
 In re      NEW ENERGY CONSULTANTS & CONTRACTORS, LLC                                                                 Case No.
                                                    Debtor(s)                                                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 ALEJANDRO URIARTE OTHEGUY                                                            05/100                                     MEMBER OF THE LLC
 PO BOX 6696
 San Juan, PR 00914

 FIDENCIO V. ALDAMUY COLON                                                            05/100                                     MEMBER OF THE LLC
 AJ 23 RIO INGENIO ST.
 RIO HONDO II
 Bayamon, PR 00961

 GIOVANNI J. CORDERO BONINI                                                           05/100                                     MEMBER OF THE LLC
 PRADERA NAVARRO
 # 46 ANDALUCIA ST.
 Gurabo, PR 00778

 LUIS ACOSTA BENITEZ                                                                  05/100                                     MEMBER OF THE LLC
 PMB # 99
 400 CALAF ST.
 San Juan, PR 00918

 MSI ENERGY, LLC                                                     MEMBER           80/100                                     MAJORITY MEMBER OF LLC
 RD. 463, KM. 1.5 INT.
 CAIMITAL ALTO WARD
 AGUADILLA


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

         I, the CHIEF FINANCIAL OFFICER & CHIEF RESTRUCTURING OFFICER of the corporation named as the debtor in
this case, declare under penalty of perjury that I have read the foregoing List of Equity Security Holders and that it is true
and correct to the best of my information and belief.



 Date October 10, 2019                                                        Signature /s/ YOLANDA GONZALEZ GOMEZ
                                                                                            YOLANDA GONZALEZ GOMEZ

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                               United States Bankruptcy Court
                                                                     District of Puerto Rico
 In re      NEW ENERGY CONSULTANTS & CONTRACTORS, LLC                                            Case No.
                                                    Debtor(s)                                    Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the CHIEF FINANCIAL OFFICER & CHIEF RESTRUCTURING OFFICER of the corporation named as the debtor in this case,

hereby verify that the attached list of creditors is true and correct to the best of my knowledge.




 Date:       October 10, 2019                                        /s/ YOLANDA GONZALEZ GOMEZ
                                                                     YOLANDA GONZALEZ GOMEZ/CHIEF FINANCIAL OFFICER &
                                                                     CHIEF RESTRUCTURING OFFICER
                                                                     Signer/Title




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NEW ENERGY CONSULTANTS & CONTRACTORS,
                             ALARM DEPOT
                                       LLC                        AMENIC PRODUCTIONS
RD. 190, KM. 1.5, LOT 5      PO BOX 270304                        GJ-22 STREET 201
SABANA ABAJO INDUSTRIAL PARK SAN JUAN, PR 00928-3104              COUNTRY CLUB
CAROLINA, PR 00983                                                CAROLINA, PR 00982-2000



JOSE F. CARDONA JIMENEZ USDC-PR ALC INDUSTRIAL DEVELOPMENT        ANALYTICS & ENERGY CONSUL
CARDONA JIMENEZ LAW OFFICES, PSCURB. ALTAMIRA                     283 MUNOZ RIVERA ST.
PO BOX 9023593                  546 ALDEBARAN ST.                 BAYAMON, PR 00959
SAN JUAN, PR 00902-3593         SAN JUAN, PR 00920



ABC ELECTRONIC SECURITY SYSTEMS
                              ALEJANDRO URIARTE OTHEGUY           ART ROOFING & LWC CONTRACC
260,DE DIEGO AVE.             PO BOX 6696                         PO BOX 8005321
PUERTO NUEVO                  SAN JUAN, PR 00914                  COTO LAUREL, PR 00780
SAN JUAN, PR 00920



ABL ARCHITECTURAL PRODUCTS CORP.
                              ALFREDO URIARTE                     AT & T
4327 SOUTH HIGHWAY 27         VERDELUZ ST.                        PO BOX 6463
SUITE 167                     GURABO, PR 00778                    CAROL STREAM, IL 60197-6463
CLERMONT, FL 34711



ADMINISTRACION DE TERRENOS       ALLIED BUILDING PRODUCTS         ATLANTIC CAPITAL INSURANCE
PO BOX 363767                    600 SECAUCUS RD.                 PO BOX 3450
SAN JUAN, PR 00936-3767          SUITE 2                          MAYAGUEZ, PR 00681-3450
                                 SECAUCUS, NJ 07094



ADNET                            ALLIED CAR & TRUCK RENTAL        BAEZ CHAO LAW OFFICES
PO BOX 250132                    PO BOX 38902                     PMB 106
AGUADILLA, PR                    SAN JUAN, PR 00928               100 PASEO BLVD., SUITE 112
                                                                  SAN JUAN, PR 00926-5955



AEE SOLAR                        ALMA Y. DURAN NIEVES, ESQ.       BANCO POPULAR DE PUERTO
775 FIERO LANE                   COND. ALTAGRACIA, 5-C            PO BOX 362708
SUITE 200                        262 URUGUAY ST.                  SAN JUAN, PR 00936-2708
SAN LUIS OBISPO, CA 93401        SAN JUAN, PR 00917



AFLAC                            ALTE STORE                       BATISTA OFFICE SUPPLY
1932 WYNNTON RD.                 330 CODMAN HILL RD.              URB. SIERRA BAYAMON
COLUMBUS, GA 31999               BOXBOROUGH, MA 01719             70-1 STREET 60
                                                                  BAYAMON, PR 00961



AGT DISTRIBUTORS                 ALTERNATIVE ENERGY STORE, INC.   BENJAMIN GONZALEZ GONZALE
435 ANDALUCIA AVE.               JAIME APONTE PARSI LAW OFFICE    H-1 GOLONDRINA ST.
PUERTO NUEVO                     PO BOX 270435                    URB. MONTE CASINO I
SAN JUAN, PR 00920               SAN JUAN, PR 00921               TOA ALTA, PR 00953
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CARIBBEAN ENERGY               CONDADO BROADCASTING LLC             DIRECT RELIEF PUERTO RICO
PR-3 WITH ROBERTO CLEMENTE AVE 1315 ASHFORD AVE.                    542 ESCORIAL AVE.
CAROLINA, PR 00985             AQUAMARINA SUITE 601                 CAPRRA HEIGHTS
                               SAN JUAN, PR 00907                   SAN JUAN, PR 00922



CARIBBEAN LUMBER & HARDWARE      COPYJET, INC.                      EC WASTE
PO BOX 190858                    PO BOX 363912                      PO BOX 918
SAN JUAN, PR 00919-0858          SAN JUAN, PR 00936-3912            PUNTA SANTIAGO
                                                                    PUNTA SANTIAGO, PR 00741-0918



CARIBE ENERGY DISTRIBUTORS      CRIM                                ECO MECHANICAL, INC.
PR 3 WITH ROBERTO CLEMENTE AVE. PO BOX 195387                       PO BOX 70250
CAROLINA, PR 00985              SAN JUAN, PR 00919-5387             SAN JUAN, PR 00936




CARIBE RECYCLING CORP.           DAVID DUNTLEY                      EDWIN BLANCO
HC-01 BOX 29030                  URB. VERSALLES                     URB. PARQUE REAL
PMB 20                           Q2 15TH STREET                     N-1 DIAMANTE ST.
CAGUAS, PR 00725-8900            BAYAMON, PR 00956                  LAJAS, PR 00667



CARRIER CREDIT SERVICE, INC.     DAVID MORALES                      EDWIN REYES MACHADO
5350 W. HILLSBORO BLVD.          URB. PAOLO B-4, RD. 787, KM. 5.2   124 RD. 684
SUITE 107                        BEATRIZ WARD                       BARCELONETA, PR 00617
POMPANO BEACH, FL 33073-4936     CAGUAS, PR 00725



CED GREENTECH MIAMI              DEPARTMENT OF LABOR & HUMAN RESOURCES
                                                              EDWIN SERRANO LUNA
3139 N ANDREWS AVE EXT.          PO BOX 191020                1233 SANTA MARIA ST.
POMPANO BEACH, FL 33064          SAN JUAN, PR 00919           JUANA MATOS WARD
                                                              CATANO, PR 00962



CJ QUIÑONEZ ENGINEERING, PSC     DEPARTMENT OF TREASURY             EJOST FASTENING SYSTEMS, L
URB. LA SERRANIA                 PO BOX 9024140                     9900 58TH PLACE
223 LIRIOS ST.                   SAN JUAN, PR 00902-4140            SUITE 300
CAGUAS, PR 00725                                                    KENOSHA, WI 53144



CLARISSA INES BIAGGI             DIANA BEREZDIVIN                   EKO
PMB # 99                         G-1 GREEN HILLS ST.                114 URUGUAY ST.
400 CALAF ST.                    GARDEN HILLS                       SAN JUAN, PR 00917
SAN JUAN, PR 00918               GUAYNABO, PR 00968



CONDADO 6, LLC                   DIRECT RELIEF PUERTO RICO          ESTRELLA, LLC ATTORNEYS ANC
1519 PONCE DE LEON AVE.          6400 WALLACE BECKNELL RD.          PO BOX 9023596
SUITE 311                        SANTA BARBARA, CA 93117            SAN JUAN, PR 00902-3596
SAN JUAN, PR 00919
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EXPO GALLERY                    HI-TECH PRODUCTS, INC.             INTERNAL REVENUE SERVICE
PMB 514                         PO BOX 3739                        PHILADELPHIA, PA 19154
1353 RD. 19                     CAROLINA, PR 00984
GUAYNABO, PR 00966-2715



FIDENCIO ALDAMUY COLON          HILTI CARIBE LLC                   ISLA COOP
AJ 23 RIO INGENIO STREET        PO BOX 194949                      PO BOX 3388
RIO HONDO                       SAN JUAN, PR 00919-4949            CAROLINA, PR 00984-3388
TOA BAJA, PR 00949



FIDENCIO ALDAMUY COLON          HOME DEPOT                         JAC CONSULTORES, INC.
RD. 190, KM.1.5, LOT 5          PO BOX 78047                       ALTOS DE ESCORIAL 930
SABANA ABAJO INDUSTRIAL PARK    PHOENIX, AZ 85062-8047             CAROLINA, PR 00984
CAROLINA, PR 00983



FIDENCIO V. ALDAMUY COLON       HOSTSEVEN                          JAVIER DENIZ QUINONEZ
AJ 23 RIO INGENIO ST.           EDIFICIO CORPORATIVO 20-10, SUITE 402
                                                                   PO BOX 1623
RIO HONDO II                    98 GUSTAVO MEJIA RICART            SAN SEBASTIAN, PR 00685
BAYAMON, PR 00961-8000          SANTO DOMINGO, D.R.



GFR MEDIA                       HUDSON RENEWABLE LLC               JAZMIN DIAZ
PO BOX 9227512                  2705 MAIN STREET                   EXT. ESTANCIAS DEL SOL
SAN JUAN, PR 00922-7512         LAWRENCE, VI 00864-8000            1-A, 7TH ST.
                                                                   RIO GRANDE, PR 00745



GIOVANNI CORDERO BONINI         HUGO SIMIBLE                       JEFFREY MARON
RD. 190, KM. 1.5, LOT 5         1050 MARIANA ST.                   26 VISTA BAHIA
SABANA ABAJO INDUSTRIAL PARK    SAN JUAN, PR 00907                 CABO ROJO, PR 00623
CAROLINA, PR 00983



GIOVANNI J. CORDERO BONINI      I.C.C. MULTI SERVICE               JENNIFER ALLORA
PRADERA NAVARRO                 AK-32 RIO ESPIRITU SANTO ST.       8 URB. PUNTA DEL VIENTO
44 ANDALUCIA ST.                RIO HONDO                          CULEBRA, PR 00775
GURABO, PR 00778                BAYAMON, PR 00961



GLENN INTERNATIONAL, INC.       IFCO RECYCLING                     JESUS VILLEGAS
PO BOX 3500                     PO BOX 191744                      NN-14 32 STREET
CAROLINA, PR 00984-3500         SAN JUAN, PR 00919-1744            ALTURAS DE FLAMBOYAN
                                                                   BAYAMON, PR



GRAYBAR                          IGLESIAS VAZQUEZ & ASSOCIATES     JOEL RIVERA
BEST THREE BLDG., LOT A          PO BOX 9024070                    URB. PASEO REAL
18 JOSE TONY SANTANA, SUITE C-15 SAN JUAN, PR 00902-4070           E-6 ZAFIRO ST.
CAROLINA, PR 00979-1547                                            DORADO, PR 00646
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JOHN FITZPATRICK                JULIO LEDESMA                    LEASEWAY OF PR
ROCKERFELLER NATURE TRAIL       AVE. CHALETS DEL PARQUE          PO BOX 11311
DORADO, PR 00646                APT. 4D                          CAPRRA HEIGHTS STA.
                                GUAYNABO, PR 00969               SAN JUAN, PR 00922



JONATHAN PEREZ                  JULIO NORIEGA                    LIGHT GAS
URB. MANSIONES DE CULEBRINES    HACIENDA SAN JOSE                PO BOX 1155
RD. 109, KM. 25.4 INTERIOR      39 LA ESTANCIA ST.               SALINAS, PR 00751
SAN SEBASTIAN, PR 00685         CAGUAS, PR 00725



JOSE G. BARREIRO                JULIO RIVERA                     LIVE & LIFE IN PALMAS
PMB 352                         URB. MIRADOR DE BAIROA           170 PALMA DR.
PO BOX 194000                   2-S, 26TH STREET                 APT. 36
SAN JUAN, PR 00919-4000         CAGUAS, PR 00725                 HUMACAO, PR 00791



JOSE LUIS SANTOS                KAREN K. MORALES PEREZ, ESQ.     LPG CPA, PSC
URB. PASEO REAL                 SUITE 205 B                      PMB 516
F-13 ESMERALDA ST.              623 PONCE DE LEON AVE.           133 LUIS VIGOREAUX AVE.
DORADO, PR 00646                SAN JUAN, PR 00917               GUAYNABO, PR 00966



JOSE PADILLA                    KAREN K. MORALES PEREZ, ESQ.     LUIS ACOSTA BENITEZ
CIUDAD JARDIN                   SUITE 205 B, BANCO COOPERATIVO PLAZA
                                                                 PMB 99
184 LOS ALTOS ST.               623 PONCE DE LEON AVE.           400 CALAF ST.
GURABO, PR 00778                SAN JUAN, PR 00917               SAN JUAN, PR 00918



JOSE UMPIERRE                   KENNETH TAMAYO                   LUIS C. MUNIZ CARO
OECAN PARK                      404 CONSTITUCION AVE.            142 CALLE 2, C-15
11 GERTRUDIS ST.                APT. 1606                        URB. NUEVO SAN ANTONIO
SAN JUAN, PR 00911              SAN JUAN, PR 00901               AGUADILLA, PR



JUAN MENDEZ SOLIS, ESQ.         KENNETH TAMAYO                   LUIS LOMBA
CITIBANK TOWER, SUITE 1402      404 CONSTITUCION AVE.            5 FLAMBOYAN GREEN R/10
252 PONCE DE LEON AVE.          APT. 1606                        PALMAS DEL MAR
SAN JUAN, PR 00918-0201         SAN JUAN, PR 00901               HUMACAO, PR



JUAN SEGARRA                    KERKADO ESTRADA & CO. PSC        LUIS VELEZ
CAMINOS DEL MAR                 1055 MARGINAL AVE. KENNEDY       BLOCK G, LOT 10 MORNING DEW
                                                                                           S
C-2 VIA CARACOLES ST.           SUITE 206                        SUNRISE, PALMAS DEL MAR
TOA BAJA, PR 00949              SAN JUAN, PR 00920               HUMACAO, PR 00791



JUDITH RAMOS MORALES            LEASE OPTION COMPANY, INC.       LUZ VIERA PEREZ
URB. VILLA COOP                 PO BOX 40851                     HC-3 BOX 9579
G-20, 9TH STREET                SAN JUAN, PR 00940-0851          LARES, PR 00669
CAROLINA, PR 00984
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MARCEL DALL PAI                  MICHY LLOVERAS                  O'NEILL & BORGES
                                 JAGUAS ST.                      250 MUNOZ RIVERA AVE., SUITE80
                                 CIALES, PR 00638                ATTN. ALFREDO ALVAREZ
                                                                 SAN JUAN, PR 00918



MARIBEL RAMIREZ TOLEDO           MIGUEL TORRES VEGA              OHMS ELECTRICAL & REFRIGER
RD. 463, KM 1.2 INT.             URB. LOS FAROLES                111 CALLE CECILIO URBINA
CAIMITAL ALTO WARD               199 PASEO DE LA PRINCESA        3208 PORTAL DE SOFIA
AGUADILLA, PR 00603              BAYAMON, PR 00956               GUAYNABO, PR 00969



MARICHAL HERNANDEZ SANTIAGO & JUARBE
                               MOISES GARIB                      OSNET WIRELESS
PO BOX 190095                  1586 ROBALO ST.                   PO BOX 819
SAN JUAN, PR 00919-0095        URB. BAHIA VISTAMAR               HUMACAO, PR 00792-0851
                               CAROLINA, PR 00983



MAXIMO SOLAR INDUSTRIES          MOISES GARIB                    P.A. BARCELO, LLC
PO BOX 3062                      1586 ROBALO ST.                 PO BOX 9021880
AGUADILLA, PR 00605              CAROLINA, PR 00983              SAN JUAN, PR 00902-1880




MAXIMO SOLAR INDUSTRIES FLORIDA MSI ENERGY, LLC                  PADRE JOSE RACHE
1003 SATELLITE BLVD.            RD. 463, KM. 1.5 INT.            PARROQUIA SAN ANTONIO DE P
SUITE 2018                      CAIMITAL ALTO WARD               7 ASHFORD ST.
ORLANDO, FL 32837               AGUADILLA                        GUAYAMA, PR 00784



MAXIMO TORRES NAZARIO            MULTI-CLEAN                     PARLIAMENT HIGH YIELD FUNDLL
RD. 463, KM. 1.2 INT             PO BOX 1396                     221 PONCE DE LEON AVE. SUITE
                                                                                            80
CAIMITAL ALTO WARD               SAINT JUST, PR 00978-1396       SAN JUAN, PR 00918
AGUADILLA, PR 00603



MCKENZIE & ASSOCIATES, LLC      MUNICIPALITY OF SAN JUAN         RAMSES R. MARRERO ECHEVAR
POPULAR CENTER BLDG, SUITE 1008 PO BOX 70179                     BOSQUE DEL RIO 410, APT. 124
208 PONCE DE LEON AVE.          SAN JUAN, PR 00936-8179          RD. 876
SAN JUAN, PR 00919                                               TRUJILLO ALTO, PR 00976



MCS                              NAVARRO STRATEGIC CONSULTANT, INC.
                                                                RC PROFESSIONALS & CONSTRS
PO BOX 193310                    COND. CAPRIVILAS, APT. 410     PO BOX 427
SAN JUAN, PR 00919-3310          570 CALLE VERONA               COAMO, PR 00769
                                 SAN JUAN, PR 00924



METRO PUERTO RICO, LLC           NORMAN AYBAR                    RENVU
PO BOX 1187                      URB. VALLE ESCONDIDO            1350-C PEAR AVE.
GUAYNABO, PR 00970-1187          BUZON 35                        MOUNTAIN VIEW, CA 94043-1303
                                 GUAYNABO, PR 00971
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RICHARD SCHELL, ESQ.            SIXTA VAZQUEZ                    TOSHIBA
171 CHARDON AVE., SUITE 301     CANDELERO ARRIBA WARD            PO BOX 70243
SAN JUAN, PR 00918               RD 3 KM 87.9                    SAN JUAN, PR 00936
                                HUMACAO, PR 00791



RICOH                           SOL NEXT ENERGY                  UNITED SURETY & INDEMNITY C
PO BOX 71459                    219 ALMENDRO ST.                 PO BOX 2111
SAN JUAN, PR 00936-8559         URB. HACIENDA BORINQUEN          SAN JUAN, PR 00922-2111
                                CAGUAS, PR 00725



ROBERTO QUINONES                STATE INSURANCE FUND             UNO RADIO GROUP
RD. 482, KM. 0.6                PO BOX 270435                    PO BOX 363222
COCOS WARD                      SAN JUAN, PR 00927               SAN JUAN, PR 00936-3222
QUEBRADILLAS, PR 00678



ROGER ELECTRIC                  SUNJUICE SOLAR, LLC              VALERIE ALDAMUY COLON
PO BOX 3166                     HCI BOX 4297                     2011 VIA PLAYERO
BAYAMON, PR 00960-3166          UTUADO, PR 00641-9354            CAMINO DEL MAR
                                                                 TOA BAJA, PR 00949



RPFX LOGISTICS, LLC             SUNNOVA ENERGY CORPORATION       VIRGILIO MACHADO AVILES, ES
211 O'NEILL ST.                 20 GREENWAY PLAZA #475           601 DISTRITO DE CONVENCIONE
HATO REY                        HOUSTON, TX 77046                BLVD BALDORIOTY DE CASTRO
SAN JUAN, PR 00918                                               SAN JUAN, PR 00907



SAMUEL AMILL                    SUNPOWER ENERGY                  VMO
URB. ARENA                      PO BOX 4003 PMB 122              PO BOX 4131
CALLE HERNANDEZ CARRION         MOCA, PR 00676                   AGUADILLA, PR 00605
MANATI, PR 00674



SECURITY GATE & DOOR            SUNRUN                           WARREN DEL CARIBE
407 RIVADAVILA ST.              1515 ARAPAHOE ST.                RD # 1, KM. 33.3
URB. VALENCIA                   TOWER 2, SUITE 600               BAIROA WARD
SAN JUAN, PR 00923-1817         DENVER, CO 80202                 CAGUAS, PR



SERGIO MEDINA                   TABUCHI ELECTRIC                 WHOLESALE ELECTRIC DEL CAR
URB. SAVANNAH REAL              5225 HELLYER AVE.                BARCELONETA, PR 00617-2057
L-2 PASEO BARCELONA             SUITE 150
SAN LORENZO, PR 00754           SAN JOSE, CA 95138



SHALIMAR MONTANEZ               TESLA                            WILLIAM QUINTANA
URB. ALTURAS DE TERRA LINDA     3500 DEER CREEK RD.              HACIENDA LA SABANA
K-14 JAZMIN ST.                 PALO ALTO, CA 94304              29 ARECIFE ST.
YABUCOA, PR                                                      GURABO, PR 00778
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WORLDNET TELECOMMUNICATIONS, INC.
CENTRO INTERNACIONAL DE MERCADEO #90
RD. 165, SUITE 201
GUAYNABO, PR 00968-8059



XIOMARA HERNANDEZ
70 PAVIA FERNANDEZ ST.
SAN SEBASTIAN, PR 00685




YAMIL CASTILLO 14373
DORADO BEACH EAST, VILLA 444
DORADO, PR 00646




YASHIRA A. MONTALVO MOORE
MANSIONES DE MONTECASINO 2
F-11 # 600 REINITA STREET
TOA ALTA, PR 00953
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                                                               United States Bankruptcy Court
                                                                      District of Puerto Rico
 In re      NEW ENERGY CONSULTANTS & CONTRACTORS, LLC                                                   Case No.
                                                    Debtor(s)                                           Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for NEW ENERGY CONSULTANTS & CONTRACTORS, LLC in the above captioned
action, certifies that the following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or
indirectly own(s) 10% or more of any class of the corporation's(s') equity interests, or states that there are no entities to
report under FRBP 7007.1:
 MSI ENERGY, LLC
 RD. 463, KM. 1.5 INT.
 CAIMITAL ALTO WARD
 AGUADILLA




    None [Check if applicable]




 October 10, 2019                                                    /s/ Jose F. Cardona Jimenez USDC-PR
 Date                                                                Jose F. Cardona Jimenez USDC-PR 124504
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for NEW ENERGY CONSULTANTS & CONTRACTORS, LLC
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